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        Attorneys for Plaintiff
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  10                      UNITED STATES DISTRICT COURT
  11
             CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
  12
  13    KEVIN MICHAEL BROPHY, JR., an             Case No. 8:17-cv-01885-CJC(JPRx)
  14    individual,

  15    Plaintiffs,                               OBJECTION TO PROPOSED
  16                                              JUDGMENT
        v.
  17                                              Judge:    Hon. Cormac J. Carney
  18    BELCALIS ALMANZAR aka CARDI B,
        an individual; KSR GROUP, LLC, a New
  19    York limited liability company;
  20    WASHPOPPIN, INC., a New York
        corporation; and DOES 1-20, inclusive,
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  22    Defendants.
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                               OBJECTION TO PROPOSED JUDGMENT
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   1         TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD
   2         PLEASE TAKE NOTICE that Plaintiff objects to the proposed judgment as
   3   premature, because, among other things, there has been no decision on Plaintiff’s
   4   request for injunctive relief. Further, Plaintiff intends to file a post-verdict motion
   5   pursuant to Fed.R.Civ.P. Rule 50 and/or Rule 59. Pursuant to Local Rule 7-3,
   6   Plaintiff’s counsel will meet and confer with Defendants’ counsel regarding the
   7   grounds for Plaintiff’s motions, and to agree an appropriate briefing and hearing
   8   schedule prior to entry of judgment.
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       Dated: November 15, 2022                CAPPELLO & NOËL LLP
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  12                                           /s/ Lawrence J. Conlan
                                               A Barry Cappello
  13                                           Lawrence J. Conlan
  14                                           Attorneys for Plaintiff
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                                  OBJECTION TO PROPOSED JUDGMENT
